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UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 1/11/21
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VERRAGIO, LTD.,                                                   :
                                                                  :
                                                    Plaintiff, :
                                                                  :        1:18-cv-10620-GHW
                              -against-                           :
                                                                  :            ORDER
WALMART STORES, INC. and K&M                                      :
ASSOCIATES, L.P.,                                                 :
                                                                  :
                                                 Defendants. :
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GREGORY H. WOODS, United States District Judge:

         On January 11, 2021, the Court held a final pretrial conference, at which the Court ruled on

the parties’ motions in limine. For the reasons stated on the record, Defendants’ motions in limine,

Dkt. Nos. 94, 95, are GRANTED. Plaintiff’s second, third, fourth, fifth, and seventh motions in

limine, Dkt. Nos. 104-106, 114, 116, are DENIED.

         Plaintiff’s first motion in in limine, Dkt. No. 103, is DENIED IN PART. The parties are

directed to file a joint letter regarding proposed stipulation language, as discussed on the record, by

January 18, 2021. Plaintiff’s sixth motion in limine is DENIED without prejudice. Any pre-motion

letter regarding a motion to dismiss Defendants’ affirmative defense must be filed no later than

February 1, 2021.

         The Clerk of Court is directed to terminate the motions pending at Dkt. Nos. 94, 95,

103-106, and 110-116.
         SO ORDERED.

 Dated: January 11, 2021                                      _____________________________________
                                                                       GREGORY H. WOODS
                                                                      United States District Judge
